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                                   #: 1997




                      Exhibit 1
     Case 1:22-cv-01676-OEM-VMS                Document 131-2         Filed 12/17/24       Page 2 of 10 PageID
                                                     #: 1998

DeVincenzo, Michael (US)

From:                             DeVincenzo, Michael (US)
Sent:                             Monday, November 25, 2024 11:06 AM
To:                               John Handy; Richard de Bodo
Cc:                               Artec; Creality
Subject:                          RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement


Counsel,
We intend to file a letter motion with the Court addressed to Artec’s lack of responsiveness and failure to abide by its
agreements in discovery. Defendants will seek fees and costs associated with such motion practice. Simply put,
Artec’s conduct cannot continue. As you know, despite committing to discussing depositions last week and providing a
30(b)(6) notice by November 15, 2024, Artec subsequently simply disregarded its agreement and has apparently now
refused to discuss depositions without explanation. As made clear at the last meet and confer, Artec cannot simply
ignore its discovery obligations because the claim construction order has rendered its infringement allegations
frivolous. Frankly, Defendants believe the parties’ time is better spent communicating on a plan for the conclusion of
discovery and addressing the issues raised below in an amicable manner, however your prepeated delays, obfuscation
and non-responsiveness has given us no choice but to engage in motion practice.

As such, if Artec will not stipulate to non-infringement and intends to participate in discovery please respond today
with the requested information including deposition dates, responses to our inquiries regarding whether subpoenas are
necessary and the remaining issues addressed below. In addition, let us know a time you are available to confer today
or tomorrow.

Regards,
Mike


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From: DeVincenzo, Michael (US)
Sent: Wednesday, November 20, 2024 11:41 AM
To: John Handy <john.handy@rimonlaw.com>; Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

Counsel,
I write regarding several outstanding discovery issues.

First, the parties previously agreed to serve 30(b)(6) notices last week and meet and confer this week. Artec not only
failed to serve a notice it failed to offer any excuse or explanation. Further, on May 28, 2024, I first asked for the
availability of the individuals identified for deposition: Gleb Gusev, George Edwards, Hailong Tang, and Alexander
Osipov. I have repeatedly followed up and asked whether these individuals will need to be subpoenaed or you will be
providing dates. I have received no response. If we do not hear back this week we will move to compel a response via
letter motion next week.

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                                                     #: 1999
Second, with respect to depositions and documents, we plan to send a subpoena to Artec Ventures LLC and Artec
Group Inc. Please let us know this week whether you will accept service of the subpoena.

Third, Artec has indicated that it intends to amend its infringement contentions and Defendants have indicated that
their invalidity contentions will be supplemented as well. Consistent with the Local Rules and as previously expressed,
we suggested Artec supplement its infringement contentions 45 days after the CC order and 45 days thereafter
Defendants will provide supplemental invalidity contentions. We have not heard back regarding this proposal or
anything with respect to the timing of Artec’s proposed supplementation. If Artec does not intend to supplement its
contentions please let me know. As previously discussed, Defendants intend to supplement their contentions
regardless and were hoping to do so in an orderly manner with an agreed schedule.

Fourth, on damages, it has been months and we have not heard back with respect to any issue with respect to any
purported deficiencies with Defendants sales and financial production. However, it does not appear that Artec has
produced its own detailed accounting information. Instead, Artec has merely provided summary of sales as a
whole. See Artec Response to IROG No. 12; Artec001939. The information provided in Artec001939 only appears to
cover certain products, is provided on a yearly basis and only goes back until 2021. Please confirm this week that
Artec will be providing a breakdown of sales per product for all products, costs and profits associated with the sales of
such products, as well as information concerning individual sales as Plaintiff has requested from Defendants with the
same level of granularity provided by Defendants. Further, please provide the requested information without delay so
we can have a productive conversation regarding possible supplements under 26(e).

Fifth, the consistent delays and false promises appear part and parcel of counsel’s attempt to assist Artec in
proceeding with claims it knows to be frivolous by delaying resolution of this matter as reflected in counsel’s decision
to wait weeks to confer regarding the good faith basis for its contentions and thereafter largely provide a cursory
response while failing to articulate any legitimate basis for infringement. We have previously discussed counsel’s
repeated delays, false promises and representations including, most notably, its false representation to both
Defendants and the Court regarding a non-existent US Copyright, and we were hopeful that counsel would begin
engaging in discovery in a productive and professional manner.

Sixth, with respect to source code inspection. The requested source code has been available for inspection for 18
months and remains available for inspection. Please let us know when Artec will be making its source code for its
products available. We would like all versions of Artec Studio 3D Scanner (we believe there is a limited number) but at
least the earliest version, the latest version and a few versions in between. If Artec does not intend to make all the
software available for inspection, I am sure we can work out the versions in a manner that makes sense as we did when
discussing source code inspection for the accused products.

If you have any questions or would like to discuss any of the above feel free to give me a call.
Mike

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From: DeVincenzo, Michael (US)
Sent: Friday, November 15, 2024 10:46 AM
To: John Handy <john.handy@rimonlaw.com>; Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

Counsel,


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                                                     #: 2000
Please confirm that Artec will be serving a 30(b)(6) notice and articulating its good faith basis for continuing to assert
infringement today.
Mike

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From: DeVincenzo, Michael (US) <michael.deVincenzo@us.kwm.com>
Sent: Thursday, November 14, 2024 9:02 AM
To: John Handy <john.handy@rimonlaw.com>; Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

Counsel,
We have not received the promised written response detailing Artec’s good faith basis for proceeding with its
allegations of infringement. The issues identified have been long outstanding and the continued delays and
obfuscation appear to be designed to unnecessarily run up fees and costs for my client and hinder its ability to enter
the marketplace. Given Artec represented we would have a response last week and Artec claimed last Thursday that it
was merely awaiting client approval, we expect to receive a response today.

Also, can you please respond to the other issues raised below and discussed last week.
Mike

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From: DeVincenzo, Michael (US)
Sent: Monday, November 11, 2024 9:22 AM
To: John Handy <john.handy@rimonlaw.com>; Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

John,
I write to briefly memorialize our conversation last week. First, Artec asserted that it will not stipulate to non-
infringement and it has a good faith basis for its assertion of literal patent infringement with respect to each asserted
patent. Artec agreed to provide a written response detailing its good faith basis for continuing by last Friday . I
understand the letter was delayed because you are waiting for client input/approval.

Second, Artec indicated that it intended to supplement its infringement contentions. I indicated upon receiving such
contentions Defendants intended to supplement its invalidity contentions. With fact discovery deadlines, we think it
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                                                                                                                                                                                                                                                                     #: 2001
makes sense to avoid surprise and allow for the orderly completion of discovery to identify dates for supplemental
infringement and subsequent invalidity contentions. In the scheduling order, invalidity contentions are provided 45
days after receiving infringement contentions and we would suggest the same. However, we are open to other
suggestions please let us know.

Third, we discussed depositions. The parties’ agreed to provide 30(b)(6) Notices this week and to further discuss
depositions and logistics next week.

Fourth, we briefly discussed supplemental production of sales information. I indicated that we would be happy to
discuss such supplement of each parties’ sales information. I further asked whether the vague complaints Artec has
raised regarding past sales information have been resolved to avoid the need for serial supplementations. Artec
indicated that it would get back to us.

Regards,
Mike

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From: John Handy <john.handy@rimonlaw.com>
Sent: Thursday, November 7, 2024 7:50 PM
To: DeVincenzo, Michael (US) <michael.deVincenzo@us.kwm.com>; Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement
Mike, F YI , I’m waiting for clie nt approval to send our written response. R egards, John Handy | PartnerRIMÔN PC+1 703.559.7360 | j ohn.handy@rimonlaw .c om1765 Greensb oro Station Pl ace T ower I, Suite 900, McL ean, VA 22102www.rimonl aw.c om | See




CGBANNERINDICATOR




Mike,

FYI, I’m waiting for client approval to send our written response.

Regards,


John Handy | Partner
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                                                   #: 2002


From: DeVincenzo, Michael (US) <michael.deVincenzo@us.kwm.com>
Sent: Tuesday, November 5, 2024 2:59 PM
To: Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

You should have received a Teams Meeting request. If not the information for dial in is below.
Mike


Microsoft Teams Need help?
Join the meeting now
Meeting ID: 373 546 028 788
Passcode: GmFyUX

Dial in by phone
+1 323-553-3543,,136583313# United States, Los Angeles
(844) 648-7510,,136583313# United States (Toll-free)
Find a local number
Phone conference ID: 136 583 313#


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From: DeVincenzo, Michael (US)
Sent: Tuesday, November 5, 2024 2:54 PM
To: 'Richard de Bodo' <rdebodo@rimonlaw.com>
Cc: 'Artec' <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: RE: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

Counsel,
The meeting request I sent did not include information regarding a dial/teams meeting. We are sending a calendar
invite with such a link.
Mike

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                                                          5
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                                                    #: 2003
PROFILE

500 Fifth Avenue, 50th Floor, New York, NY 10110
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From: DeVincenzo, Michael (US)
Sent: Monday, November 4, 2024 10:01 AM
To: Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: Communication Regarding Artec's Rule 11 Basis for Asserting Infringement

Richard,
Tomorrow at 3pm works. The fact that Artec remains unable to articulate a good faith basis for its patent
infringement allegations is concerning given the issues raised in our correspondence of last week were first raised long
ago and ignored by Artec prior to claim construction. Now, with claim construction in hand, if Artec will not stipulate
to non-infringement Artec must be able to articulate a good faith basis for proceeding and follow up in writing as
requested or stipulate to non-infringement. We can discuss tomorrow but habit of delay and obfuscation continues to
be concerning.

Lastly, please remember to cc our team on communications.

Regards,
Mike

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From: Richard de Bodo <rdebodo@rimonlaw.com>
Sent: Thursday, October 31, 2024 5:30 PM
To: DeVincenzo, Michael (US) <michael.deVincenzo@us.kwm.com>
Subject: Confidential Communication Under Fed. R. Civ. P. 408

Michael,

We received Defendants’ detailed letter regarding the patent infringement issues yesterday (Wednesday). Because we
want to analyze Defendants’ positions in detail before speaking with you and because we have been traveling this week
and have had other scheduling conflicts, we propose scheduling our call for next Tuesday (November 5) at 3pm ET. We
will also address with you then our requests for Defendants’ sales and financial information and depositions. If the
timing is not convenient for you, please propose another time. Thanks very much.

Regards,

Rich


Richard de Bodo | Partner

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                                                                          #: 2004

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From: DeVincenzo, Michael (US) <michael.deVincenzo@us.kwm.com>
Sent: Wednesday, October 30, 2024 7:32 AM
To: Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <creality@us.kwm.com>
Subject: RE: Confidential Communication Under Fed. R. Civ. P. 408

Its been pointed out that the date on the previous correspondence was incorrect. Please see attached with the correct
date.

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From: DeVincenzo, Michael (US)
Sent: Wednesday, October 30, 2024 10:29 AM
To: 'Richard de Bodo' <rdebodo@rimonlaw.com>
Cc: 'Artec' <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: RE: Confidential Communication Under Fed. R. Civ. P. 408

Richard,

Please see attached correspondence. Further, I have not received a response regarding any time you are available
Friday afternoon. If the times I sent do not work please suggest one of your own.

With respect to the points raised below:

First, with respect to the financial information already produced, I will inquire about supplementing the spreadsheets
previously produced with more upto date information. We expect that Artec will provide the same type updates. We
can discuss on Friday.

Second, Artec has not articulated any particular concerns with respect to the sales information already
produced. When we last spoke, you indicated that additional information was needed regarding translations and
transaction information. In response, I indicated that we provided such information regarding transactions and, in our
Interrogatorry responses served months ago, we provided the requested translations. You indicated that you would
look at our responses and the documents produced and see if anything else was needed. You do not suggest below that
any additional information is needed and, unless and until you do, Defendants understand the issue is resolved.

Third, with respect to depositions, happy to talk Friday.

Regards,
Mike
                                                                                        7
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                                                     #: 2005

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From: DeVincenzo, Michael (US)
Sent: Monday, October 28, 2024 10:43 AM
To: Richard de Bodo <rdebodo@rimonlaw.com>
Cc: Artec <Artec@rimonlaw.com>; Creality <Creality@us.kwm.com>
Subject: RE: Confidential Communication Under Fed. R. Civ. P. 408

Richard,
I am available at 1:00-4:00 (eastern) on Friday to discuss the Artec’s good faith basis for proceeding with any of its
claims of patent infringement as well as the case issues identified below. Let me know a time that works.

I intend to respond more fully with respect to the case issue addressed below tomorrow.
Mike

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From: Richard de Bodo <rdebodo@rimonlaw.com>
Sent: Friday, October 25, 2024 4:14 PM
To: DeVincenzo, Michael (US) <michael.deVincenzo@us.kwm.com>
Subject: Confidential Communication Under Fed. R. Civ. P. 408

Michael,

Following up on our call earlier this month, Artec remains interested in pursuing se lement discussions with
Defendants. Given the case schedule, Artec wants to resume these discussions during the next few weeks, in the hope
that the par es can reach a resolu on that will eliminate the need for further li ga on.

Since our call, Artec reviewed Defendants’ interrogatory responses and document produc on rela ng to sales of
Defendants’ products, as you suggested. Artec s ll believes it would assist the par es’ se lement discussions if
Defendants can please supplement their produc on of sales and ﬁnancial documents and their related interrogatory
responses so these documents and responses reﬂect current, up-to-date informa on.



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                                                                         #: 2006
We have also raised concerns about the form in which the above informa on has been presented. We would be pleased
to work together with you to try to resolve informally any ambigui es rela ng to the presenta on of the sales and
ﬁnancial data and thereby avoid any mo on prac ce.

During this me period, the par es should also be able to reach an agreement that will eliminate the need to subpoena
witnesses, as well as to begin iden fying their need for any addi onal discovery. In response to your ques on, we
propose that the par es agree to make witnesses available for remote deposi ons and schedule these close to the end
of fact discovery. As you know, it is illegal to depose witnesses in China for use in US li ga on. Please advise if
Defendants agree to being deposed remotely in either Hong Kong or Macau, which are not subject to China’s civil
procedural laws. We will need to move for an order to compel soon if we cannot reach agreement.

We are also reviewing the points Defendants raised regarding the Markman Order. Given our travel schedule early next
week, we can be available for a meet and confer on Friday a ernoon, November 1. Please let us know if you are
available.

Regards,

Rich


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